                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE


 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )                  Case No. 3:22-CR-103-001
 v.                                              )                  Judge Crytzer
                                                 )
 SUNSHINE ANN MILLER                             )


                                    SENTENCING MEMORANDUM

           Comes the Defendant Sunshine Miller, by and through counsel, who files this sentencing

 memorandum:

           As of November 22, 2023, there is a pending objection to the Presentence Investigation

 Report.     It is Ms. Miller’s position that the sentencing guideline range should be 18-24 months.

           Ms. Miller accepted responsibility early in this case.    She knows that her actions were

 wrong and she is remorseful that she engaged in those actions.

           When Ms. Miller was initially before this Court, her mother was home bound and Ms.

 Miller had been caring for her.     She was granted a bond on November 17, 2022 which was

 essentially home incarceration.     Ms. Miller stayed with her mother at her apartment and cared for

 her as her health declined.    There were several hospitalizations and Ms. Miller’s mother eventually

 passed away in June of 2023.       Thereafter, Ms. Miller moved to her daughter’s apartment and her

 conditions were changed to allow her to leave the house during the day.        She has assisted her

 daughter in caring for her three grandchildren who live with them at the apartment.

           While Ms. Miller has not had problems with passing any drug tests while on supervision,

 she has had issues with substance abuse in the past.     She would benefit from the 500 hour

 Residential Drug Abuse treatment program while she serves a sentence at the Bureau of Prisons.

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        Ms. Miller respectfully requests a sentence at the bottom of her sentencing guideline range

 and a recommendation that her sentence be served at the facility in Lexington, Kentucky.

        Respectfully submitted this 22nd day of November, 2023.

                                             FEDERAL DEFENDER SERVICES
                                             OF EASTERN TENNESSEE, INC.


                                                              s/ Jonathan A. Moffatt
                                                      Jonathan A. Moffatt No. 18137
                                                      800 S. Gay Street, Suite 2400
                                                      Knoxville, TN 37929
                                                      (865) 637-7979




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